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EXHIBIT “A”
Case 1:11-cv-23143-JLK Document 1-1 Entered on FLSD Docket 08/31/2011 Page 2 of 5

IN THE COUNTY COURT IN AND FOR
MIAMI-DADE COUNTY, FLORIDA

CASENO.: § 11~1088 9ccas (p)
MICHEAL MICHEL

Vv.

PENNCRO ASSOCIATES, INC.
/

 

COMPLAINT ;
(JURY TRIAL DEMANDED) SOUT TP paasiow

COMES NOW, Plaintiff, who claims as follows:

1. A jury trial is demanded.

2. This is an action for more than $5,000.00, but less than $15,000.00 and is within
the jurisdiction of this court.

3. Venue is proper because the actions occurred in this county.

4. Plaintiff (“MICHEAL MICHEL”) is a “consumer” as that term is defined by the
Fair Debt Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C.
§1692a(3).

5. MICHEAL MICHEL is a natural person allegedly obligated to pay a debt to the

defendant.

6. The obligation which defendants allege MICHEAL MICHEL is obligated to
pay is a “debt” as that term is defined by the FDCPA, 15 U.S.C. §1692a(5) as
the debt was incurred for personal purposes, a Bank of America account.

7. The defendant is a “debt collector” as that term is defined by 15 U.S.C.

§1692a(6).
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8. The defendant contacted MICHEAL MICHEL without disclosing that the call
was an attempt to collect a debt or that the defendant was a debt collector as
required by 15 U.S.C. 1692e(11).

9. The defendant made a telephone call and left a voice-mail message omitting the
disclosure required by law that the defendant was, in fact, a debt collector and
that the call was an attempt to collect a debt.

10. The message states “This message is for Michael Michel. Please return to call
to Lisa Boykins at 1 866 207 8184 extension 2610.”

11. PLAINTIFF suffered damages.

12. The Fair Debt Collection Practices Act, §1692k provides for actual damages,
statutory damages up to One-thousand dollars ($1,000.00), costs of this action,
and reasonable attorney’s fees for any violation of the Act.

WHEREFORE, MICHEAL MICHEL respectfully prays that this Court enter a
judgment against the defendant for actual damages, statutory damages in the amount of
one-thousand dollars ($1,000.00) for violations of the Fair Debt Collection Practices Act,
costs of this action, and any and all such additional and further relief as this Court deems

just or proper in the circumstances.

™~
=

Erik Kaydatzke vas FBN 17862
Debt Défextsé, P.L. - A Law Fj
6915-Réd Road, Suite 200

Coral Gables, Florida 33143
Tel.: 305) 444-4323
Case 1:11-cv-23143-JLK Document 1-1 Entered on FLSD Docket 08/31/2011

 

 

IN THE COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR MIAMI-DADE

 

 

COUNTY FLORIDA
| DIVISION: CIVIL CASE NUMBER
SUMMONS
(20 Day Corporate Service) i 11~1086 90008
PLAINTIFF(S) VS. DEFENDANT(S) CLOCK IN
MICHEAL MICHEL PENNCRO ASSOCIATES, INC.

 

 

 

THE STATE OF FLORIDA

You ARE COMMANDED to serve this summons and a copy of the complaint or petition in this action on
defendant(s):

PENNCRO ASSOCIATES, INC
95 JAMES WAY, STE 113
SOUTHHAMPTON, PA 18966

Each defendant is required to serve written defenses to the complaint or petition on Plaintiff's Attorney:

Erik Kardatzke, Esquire
Debt Defense, P.L.

6915 Red Road, Ste 200
Coral Gables, FL 33143

Within 20 days after service of this summons on that defendant, exclusive of the day of service, Saturdays,
Sundays and Legal Holidays, and to file the original of the defenses with the Clerk of Court either before
service on the Plaintiff's attorney or immediately thereafter. If defendant fails to do so, a default will be
entered against that defendant for the relief demanded in the complaint or petition.

 

HARVEY RUVIN DATE
CLERK OF COURTS ~ AUE 4 8 2BN

 

 

 

 

AMERICANS WITH DISABILITIES ACT OF 1990
IN ACCORDANCE WITH THE AMERICANS WITH DISABILITIES ACT OF 1990, PERSONS NEEDING A SPECIAL
ACCOMODATION TO PARTICIPATE IN THIS PROCEEDING SHOULD CONTACT THE COURT ADA COORDINATOR, NO
LATER THAT 7 DAYS PRIOR TO THE PROCEEDINGS AT (305) 349-7174 (TDD)

 

 

 

 
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CLERK of the COURTS
MIAMI-DADE COUNTY, FLORIDA

  
  

 

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Case Number (LOCAL): 2011-10869-CC-25Dockets Retrieved: 3

Filing Date: 07/18/2011
Case Number (STATE): 13-201 1-CC-010869-0000-25

 

 

 

 

 

 

 

 

 

 

 

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